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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK


 EXPRESS GOLD CASH, INC.,

                              Plaintiff,
                                                     Civil Action No.: 1:18-cv-837
                -vs-

 BEYOND79, LLC d/b/a                                 RULE 7.1 DISCLOSURE
 SELLYOURGOLD.COM,                                   STATEMENT

                              Defendant.


         Pursuant to Rule 7.1(a) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff Express Gold Cash, Inc. states that Express Gold Cash, Inc. does not

have a parent corporation and that no publicly held corporation owns 10% or more of its

stock.


 DATED: July 31, 2018


                                           Respectfully submitted,


                                           s/Kamran F. Hashmi
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